Case 2:20-mj-00358-EJY Document 15 Filed 11/05/20 Page 1 of 4
Case 2:20-mj-00358-EJY Document 15 Filed 11/05/20 Page 2 of 4
Case 2:20-mj-00358-EJY Document 15 Filed 11/05/20 Page 3 of 4
             Case 2:20-mj-00358-EJY Document 15 Filed 11/05/20 Page 4 of 4




 1   The additional time is excludable in computing the time within which the trial must
 2   commence under the Speedy Trial Act, 18 U.S.C. § 316l(h)(7)(A) based on the factors
 3
     outlined in §3161(h)(7)(B)(i), (iv).
 4
                                       CONCLUSIONS OFLAW
 5
              The ends of justice served by granting the requested continuance outweigh the best
 6
     interest of the public and the defendant in a speedy trial because the failure to grant it would
 7

 8
     likely result in a miscarriage ofjustice. This continuance is excludable under the Speedy

 9   Trial Act, Title 18 U.S.C. § 3161 (h)(7)(A) based on the factors outlined in §16l(h)(7)(B)(i),

10   (iv).
11                                                ORDER
12
             IT IS FURTHER ORDERED that the Initial Appearance currently scheduled for
13
     November 5, 2020 at the hour of 11 :00 a.m., is vacated and continued to December 9, 2020
14
     at the hour of 9:00 a.m., in Courtroom 3D.
15
         DATED this 5th day ofNovember 2020.
16
17
18                                          BY: ____________
                                                HONORABLEELAYNAJYOUCHAH
19
                                                United States Magistrare Judge
20
21
22
23
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25                                                    4
26
